        Case: 3:23-cv-01702-JRK Doc #: 1 Filed: 08/30/23 1 of 5. PageID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO




  Alexander R,Glasqow

          Plaintiff                                CASEN                    CV 1

                 -vs-                              JUDGE
                                                                       JUDGE KNEPP


  General Electric Company
  GE Renewable Energy
          Defendant(s)



                                   Parties Involved


                          1. Alexander R. Glasgow
                             205 Palmer Ln, Bryan, OH 43506

                          2. General Electric Company
                             5 Necco St, Boston, MA 02210



                            INITIAL COMPLAINT ALLEGES


3. Plaintiff Alexander R. Glasgow is suing General Electric Company/GE Renewable
   Energy for discriminatory and retaliatory actions taken upon him for raising safety
   and religious discrimination concerns, ending in termination from Western Spirits
   wind farm. Subsequently GE then denied Alexander a second career opportunity
   near Haviland OH for not disclosing details on the active investigation of the
   discriminatory and retaliatory actions taken on him regarding his termination from his
   first career opportunity at Western Spirits.
Case: 3:23-cv-01702-JRK Doc #: 1 Filed: 08/30/23 2 of 5. PageID #: 2
Case: 3:23-cv-01702-JRK Doc #: 1 Filed: 08/30/23 3 of 5. PageID #: 3
Case: 3:23-cv-01702-JRK Doc #: 1 Filed: 08/30/23 4 of 5. PageID #: 4
Case: 3:23-cv-01702-JRK Doc #: 1 Filed: 08/30/23 5 of 5. PageID #: 5
